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                                                             Minimum Mandatory □
                                                                    Rule35/5K1.1     M
                                                                   Appeal Waiver ^
                                                                  Asset Forfeiture   □
                                                                      Restitution    □
                                                                            Other    12


                          UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION



 UNITED STATES OF AMERICA


                     V.                                      CR: 2:18-041


 CALEB JAMES ANDERSON
 AUSTIN ALLEN CROSS
 SEAN PATRICK REARDON
 KYLE PRESTON CLASBY




                                PLEA AGREEMENT


       Defendant Austin Alien Cross, represented by his counsel Kevin Gough,

and the United States of America, represented by Special Assistant United States

Attorney Katelyn Semales, respectfully state to this Honorable Court that they

have reached a plea agreement in this case. The terms and conditions of that

agreement are as follows.

1.     Guiltv Plea


       Defendant agrees to enter a plea of guilty to Count One of the Indictment,

which charges a violation of 18 U.S.C. § 371 (Conspiracy).

2.     Elements and Factual Basis

       The elements necessary to prove the offense charged in Count One are (1)

that two or more persons in some way agreed to try to accomplish a shared and
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unlawful plan;(2)the Defendant knew the unlawful purpose of the plan and

willfully joined in on it;(3) during the conspiracy, one of the conspirators knowingly

engaged in at least one overt act as described in the indictment; and (4)the overt

act was committed at or about the time alleged and with the purpose of carrying out

or accomplishing some object of the conspiracy.

      Defendant agrees that he is, in fact, guilty of this offense. He agrees to the

accuracy of the following facts, which satisfy the offense's required elements:

      From on or around September 2010 up to and including February 15, 2018,

the precise dates being unknown,in Camden County, in the Southern District of

Georgia, and elsewhere, the defendant, AUSTIN ALLEN CROSS,did knowingly

and willfully combine, conspire, confederate and agree with others known and

unknown:(a)to knowingly receive, conceal, and retain stolen property belonging to

the United States, to wit, small arms ammunition and explosives, with the intent to

deprive the United States of the use and benefit ofthat property and to convert that

property to their own use or gain, said property of a value exceeding $1,000, in

violation of Title 18, United States Code, Section 651; and (b)to receive, possess,

transport, conceal, store, and dispose of stolen explosive materials which had been

shipped or transported in interstate or foreign commerce, knowing and having

reasonable cause to believe that the explosive materials were stolen, in violation of

Title 18, United States Code, Section 842(h).
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      In furtherance of and to effect the objects ofthe conspiracy, the following overt

acts, among others, were committed in the Southern District of Georgia and

elsewhere:


       a) On or about August 2011 through July 2014, on multiple occasions, while

serving as United States Marine, the precise dates being unknown, defendant

AUSTIN ALLEN CROSS with others known and unknown, stole small arms

ammunition and explosives from the armory at Naval Submarine Base Kings Bay,in

Camden County, Georgia.

      b) On or about August 2011 through July 2014, on at least one occasion, the

precise dates being unknown, defendant AUSTIN ALLEN CROSS with others

known and unknown entered Naval Submarine Base Kings Bay,removed the stolen

small arms ammunition and explosives from Naval Submarine Base Kings Bay, and

transported them to 103 Doris Street, St. Mary's Georgia.

      c) On or about August 2011 through July 2014, the precise date being

unknown, defendant AUSTIN ALLEN CROSS with others known and unknown

buried the stolen small arms ammunition and explosives at 103 Doris Street, St.

Mary's Georgia.

3.    Possible Sentence


      The Defendant's guilty plea will subject him to the following maximum

possible penalties: 5 years'imprisonment,3 years' supervised release, a $250,000

fine, such restitution as may be ordered by the Court, and forfeiture of all forfeitable

assets. The Court additionally is obliged to impose a $100 special assessment.
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4.     No Promised Sentence

       No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.

5.     Court's Use of Guidelines


       The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable guideline range for Defendant's offense and to consider that

range, possible departures under the Sentencing Guidelines, and other sentencing

factors under 18 U.S.C. § 3553(a), in determining his sentence. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest. The Sentencing Guidelines are based on all of

Defendant's relevant conduct, pursuant to U.S.S.G. § 1B1.3, notjust the facts

underlying the particular Count to which Defendant is pleading guilty.

6.    Agreements Regarding Sentencing Guidelines

       a.    Acceptance ofResponsibility

      The Government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3El.l(a) of the Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or
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greater prior to any reduction for acceptance of responsibility, the government will

move for an additional one-level reduction in offense level pursuant to Section

3El.l(b) based on Defendant's timely notification of his intention to enter a guilty

plea.

        b.    Use ofInformation
                                                         I



        The government is free to provide full and accurate information to the Court

and U.S. Probation Office for use in calculating the applicable Sentencing

Guidelines range.

7.      Dismissal of Other Counts


        At sentencing, the government will move to dismiss any other Counts of the

Indictment that remain pending against Defendant.

8.      Cooperation

        a.    Complete and Truthful Cooperation Required

        Defendant,if he chooses to cooperate, must provide full, complete, candid, and

truthful cooperation in the investigation and prosecution of the offenses charged in

his Indictment and any related offenses. Defendant shall fully and truthfully disclose

his knowledge of those offenses and shall fully and truthfully answer any question

put to him by law enforcement officers about those offenses.

        This agreement does not require Defendant to "make a case" against any

particular person. His benefits under this agreement are conditioned only on his

cooperation and truthfulness, not on the outcome of any trial, grand jury, or other

proceeding.
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       b.    Motion for Reduction in Sentence Based on Cooperation

       The government, in its sole discretion, will decide whether Defendant's

cooperation qualifies as "substantial assistance" pursuant to U.S.S.G.§ 5K1.1 or Fed.

R. Crim. P. 35 and thereby warrants the filing of a motion for downward departure

or reduction in Defendant's sentence. If such a motion is filed, the Court, in its sole

discretion, will decide whether, and to what extent. Defendant's sentence should be

reduced. The Court is not required to accept any recommendation by the government

that the Defendant's sentence be reduced.


9.     Financial Obligations and Agreements


       a.    Special Assessment

       Defendant agrees to pay a special assessment in the amount of $100.00,

payable to the Clerk of the United States District Court, which shall be due

immediately at the time of sentencing.

      b.     Required Financial Disclosure

      Not later than 30 days after the entry of his guilty plea, Defendant shall

provide to the United States, under penalty of perjury, a financial disclosure form

listing all of his assets and financial interest, whether held directly or indirectly,

solely or jointly, in his name or in the name of another. The United States is

authorized to run credit reports on Defendant and to share the contents of the

reports with the Court and U.S. Probation.




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10.     Waivers


        a.    Waiver ofAppeal

        Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground (including any argximent that the statute to which the

defendant is pleading guilty is unconstitutional or that the admitted conduct does not

fall within the scope of the statute). The only exceptions are that the Defendant may

file a direct appeal ofhis sentence if(1)the court enters a sentence above the statutory

maximum,(2) the court enters a sentence above the advisory Sentencing Guidelines

range found to apply by the court at sentencing; or (3) the Government appeals the

sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his

attorney not to file an appeal.

        b.    Waiver of Collateral Attack

        Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim of ineffective assistance of counsel.


        c.    FOIA and Privacy Act Waiver

        Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution of this case under

the authority ofthe Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act

of 1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.
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        d.   Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410 Waiver

       Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by

a defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's

statements in connection with this plea, and any leads derived therefrom, shall be

admissible for any and all purposes.

11-    Defendant's Rights


       Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-

examine adverse witnesses, to be protected from compelled self-incrimination, to

testify and present evidence, and to compel the attendance of witnesses.

12.    Satisfaction with Counsel


       Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that his attorney has represented him faithfully, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.




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13.     Breach of Plea Agreement


        If Defendant breaches the plea agreement, withdraws his guilty plea, or

attempts to withdraw his guilty plea, the government is released from any

agreement herein regarding the calculation ofthe advisory Sentencing Guidelines

or the appropriate sentence. In addition, the government may(1) declare the plea

agreement null and void,(2) reinstate any counts that may have been dismissed

pursuant to the plea agreement, and/or (8)file new charges against Defendant that

might otherwise be barred by this plea agreement. Defendant waives any statute-

of-limitations or speedy trial defense to prosecutions reinstated or commenced

under this paragraph.

14.    Entire Agreement


       This agreement contains the entire agreement between the government and

Defendant. The government has made no promises or representations except those

set forth in writing in this Plea Agreement. The government further denies

existence of any other terms or conditions not stated herein. No other promises,

terms or conditions will be entered into unless they are in writing and signed by all

the parties.




                            Signatures on Following Page




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                                  BOBBY L. CHRISTINE
                                  UNITED STATES ATTORNEY




Date                              Bk^n T. Rafferty
                                  Chief, Criminal Division




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Dalle                             Katelyn Semj
                                  Special Ass^ant United States Attorney


                       Signatures on Following Page




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       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.




        //J
Date                                    Austin Allen Cross, Defendant


       I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with him. I believe that he fully

and completely understands it, and that his decision to enter into this agreement is

an informed, intelligent, and voluntary one.




Date                                    Kevin Gough  , De^£d^nt>Att  ttorney




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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION



 UNITED STATES OF AMERICA


                    V.                                    CR: 2:18-041


 CALEB JAMES ANDERSON
 AUSTIN ALLEN CROSS
 SEAN PATRICK REARDON
 KYLE PRESTON CLASBY




                                      ORDER


      The aforesaid Plea Agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the

defendant's attorney at a hearing on the defendant's motion to change his plea and

the Court finding that the plea of guilty is made freely, voluntarily and knowingly,

it is thereupon,

      ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.




             This LtTH day of                         2018.




                          HON.i
                          JUDQE,UNITED STATES DISTRICT COURT
                          SOUatHERN DISTRICT OF GEORGIA
